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 1                    UNITED STATES DISTRICT COURT
 2                                                for the
 3                                          District of Kansas
 4
 5   COI Robert Craft,                                )
 6         Plaintiff,                                 )
 7                                                    )
 8   v.                                               ) Case No: 6:23-cv-01081-JAR-
 9                                                    ) GEB
10   CSI Jacob Townsend et al                         )
11                                                    )
12         Defendants                                 )
13   ___________________________/                     )  Letter of Correspondence from
14                                                    )  Plaintiff to Defendants – Offer to
15                                                    )  Stipulate Disputed Facts
16                                                    )
17                                                    )
18
19
20    ________________________________________________________________________
21

22           Let to be known to the Court, the Plaintiff has put forth an offer to the Defendants’

23    representation to establish some stipulations regarding current disputed facts, before moving the

24    Court to have the facts determined.

25                                                 Details

26    Correspondence Type: Email

27    Author: Plaintiff

28    Recipient: Defendants’ Representative Counsel

29    When: July 29, 2023

30    Reason: Offer to meet and stipulate disputed facts.

31

32                                                  Index

33    Exhibit A: Copy of referenced Correspondence Email

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34

35

36

37                                               Affidavit

38   19. This affidavit is submitted in accordance with 28 U.S. Code § 1746 - Unsworn declarations

39      under penalty of perjury, Plaintiff hereby declares under the penalty of perjury that the

40      foregoing is true and correct to the best of Plaintiff’s knowledge.

41
42
43
44
45                                                                 s/___________________________
46                                                                               COI Robert Craft
47                                                                                  209 N Oak St
48                                                                           Stockton, KS 67669
49                                                                     Telephone: 941-270-0938
50                                                                  Email: craft.kdoc@gmail.com




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